Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 1 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 2 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 3 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 4 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 5 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 6 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 7 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 8 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 9 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 10 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 11 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 12 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 13 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 14 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 15 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 16 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 17 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 18 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 19 of 20
Case 2:22-bk-14943-WB   Doc 20 Filed 11/04/22 Entered 11/04/22 13:29:28   Desc
                        Main Document    Page 20 of 20
